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 1     TRACY L. WILKISON
       United States Attorney
 2     SCOTT M. GARRINGER
       Assistant United States Attorney
 3     Chief, Criminal Division
       JONATHAN GALATZAN
 4     Assistant United States Attorney
       Chief, Asset Forfeiture Section
 5     VICTOR A. RODGERS (Cal. Bar No. 101281)
       MAXWELL COLL (Cal. Bar No. 312651)
 6     Assistant United States Attorneys
       Asset Forfeiture Section
 7           Federal Courthouse, 14th Floor
             312 North Spring Street
 8           Los Angeles, California 90012
             Telephone: (213) 894-2569/1785
 9           Facsimile: (213) 894-0142
             E-mail: Victor.Rodgers@usdoj.gov
10                   Maxwell.Coll@usdoj.gov
11     Attorneys for Plaintiff
       UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                 Case No. 2:21-cv-06968-RGK-MAR
16
                 Plaintiff,                     PLAINTIFF UNITED STATES OF
17                                              AMERICA’S NOTICE OF NON-
                        v.                      RECEIPT OF ANY OPPOSITION TO
18                                              ITS APPLICATION PURSUANT TO 18
      $305,000.00 IN U.S. CURRENCY,             U.S.C. § 981(g)(5) AND LOCAL RULE
19                                              79-6 TO FILE OR LODGE IN
                 Defendant.                     CAMERA NON-PUBLIC
20                                              DECLARATION IN SUPPORT OF
                                                PLAINTIFF’S MOTION FOR AN
21                                              ORDER TO STAY THIS CIVIL
                                                FORFEITURE PROCEEDING AND
22                                              REQUEST THAT THE APPLICATION
                                                BE GRANTED
23 MICHAEL MAGEE,
                                                Date:          February 22, 2022
24                                              Time:          9:00 a.m.
           Claimant.                            Courtroom:     850, the Honorable
25                                                             R. Gary Klausner
26
27
28
     Case 2:21-cv-06968-RGK-MAR Document 35 Filed 02/08/22 Page 2 of 2 Page ID #:337




 1           On January 14, 2022, plaintiff United States of America (“the government”) filed
 2     its application pursuant to 18 U.S.C. § 981(g)(5) and Local Rule 79-6, for an order to file
 3     or lodge in camera the government’s non-public declaration in support of the
 4     government’s motion for an order to stay this civil forfeiture proceeding pursuant to 18
 5     U.S.C. § 981(g)(1). The hearing on the motion is scheduled for February 22, 2022,
 6     meaning that, at the latest, any opposition to the application would have been due
 7     February 2, 2022, which is 21 days before the hearing. See Local Rule 7-9. The failure
 8     to file a timely opposition may be deemed consent to the granting of a motion. See
 9     Local Rule 7-12. Accordingly, the government respectfully requests that the application
10     be granted, so that the government can submit to the Court in camera its non-public
11     declaration in support of the motion for a stay.
12     Dated: February 7, 2022                       Respectfully submitted,
13                                                   TRACY L. WILKISON
                                                     United States Attorney
14                                                   SCOTT M. GARRINGER
                                                     Assistant United States Attorney
15                                                   Chief, Criminal Division
                                                     JONATHAN GALATZAN
16                                                   Assistant United States Attorney
                                                     Chief, Asset Forfeiture Section
17
                                                           /s/             _____________
18                                                   VICTOR A. RODGERS
                                                     MAXWELL COLL
19                                                   Assistant United States Attorneys
20                                                   Attorneys for Plaintiff
                                                     UNITED STATES OF AMERICA
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